Case 4:10-cr-00261-JM   Document 52   Filed 06/26/12   Page 1 of 5
AD 245B                     Casein4:10-cr-00261-JM
             (Rev. 09/11) Judgment a Criminal Case            Document 52            Filed 06/26/12             Page 2 of 5
             Sheet 4-Probation
                                                                                                           Judgment-Page _    2    of    __5=--__
DEFENDANT: SPENCER TREECE
CASE NUMBER: 4:10cr00261-02 JMM
                                                                PROBATION

The defendant is hereby sentenced to probation for a term of :

 THREE (3) YEARS




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
 o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, ifapplicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.)
        as directed by the probatIon officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shaH notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or ~ersomil history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
AD 245B   (Rev. 09/11)Case
                      Judgment4:10-cr-00261-JM
                               in a Criminal Case   Document 52         Filed 06/26/12    Page 3 of 5
          Sheet 4C - Probation
                                                                                         Judgment-Page _   3   of        5
DEFENDANT: SPENCER TREECE
CASE NUMBER: 4:10crO0261-02 JMM

                                  SPECIAL CONDITIONS OF SUPERVISION
 1) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
 shall abstain from the use of alcohol throughout the course of treatment.

 2) The defendant shall perform TWO HUNDRED (200) hours of community service during the period of probation. The
 location for the community service will be determined by the probation officer.
AD 2458                 Case in4:10-cr-00261-JM
          (Rev. 09/11) Judgment a Criminal Case               Document 52               Filed 06/26/12        Page 4 of 5
          Sheet 5    Criminal Monetary Penalties
                                                                                                       Judgment -   Page   4   of         5
DEFENDANT: SPENCER TREECE
CASE NUMBER: 4:10cr00261-02 JMM
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                        Fine                                 Restitution
TOTALS              $ 100.00                                          $ 0.00                               $ 0.00


     The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will be entered
                                                              ---
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proI'ortioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                                                              Total Loss*          Restitution Ordered Priority or Percentage




TOTALS                               $                        0.00                                    0.00


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the                fine    0    restitution.

      D the interest requirement for the           0   fine   0      restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113AofTitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1995.
AO 245B                   Casein4:10-cr-00261-JM
           (Rev. 09111) Judgment a Criminal Case                 Document 52              Filed 06/26/12            Page 5 of 5
           Sheet 6 -   Schedule of Payments
                                                                                                                Judgment -   Page            of
DEFENDANT: SPENCER TREECE
CASE NUMBER: 4:10cr00261-02 JMM


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     riI Lump sum payment of $ _10_0_,_0_0_ _ __ due immediately, balance due
                  not later than                                      , or
           D      in accordance           D C,       D D,        D      E, or    D F below; or
B     D Payment to begin immediately (may be combined with                       C,           D, or         F below); or

C     D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 imprisonment, All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed,




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution,

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
